Dear Auditor Schweich:
This office received your letter of September 26, 2011, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by Marc Ellinger (version 13). The fiscal note summary that you submitted is as follows:
  Annual state government revenue under this proposal may increase by up to $300 million, or decrease by up to $1.5 billion. The proposal is estimated to increase state operating costs by at least $12.9 million, and may accelerate tax credit redemptions. The fiscal impact to local governments is unknown.
Under § 116.175.4, RSMo, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the initiative petition or as the expression of any view regarding the objectives of its proponents.
                                                  Very truly yours, ______________________ CHRIS KOSTER Attorney General *Page 1 